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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------x
BERNARD WILKERSON,

                                    Plaintiff,
                                                                     19-cv-9340 (LJL)
                      - against -
                                                                      MOTIONS IN LIMINE
METROPOLITAN TRANSPORTATION
AUTHORITY, NEW YORK CITY TRANSIT
AUTHORITY, and RICARDO JOHN,
Individually,

                                     Defendants.
-----------------------------------------------------------x


        PLEASE TAKE NOTICE that upon the accompanying memorandum of law, defendants

will move the Court in limine before the Honorable Lewis J. Liman, United States District Judge,

at the Courthouse, 500 Pearl Street, New York, New York, on a date and time to be determined

by the Court, for an order precluding or excluding certain testimony or evidence, dismissing

plaintiff’s claims for punitive damages as against all defendants and granting other relief as set

forth in the memorandum of law.



Dated: New York, New York
       August 4, 2022
                                                               Respectfully submitted,


                                                               _________/s/________________
                                                               Steve S. Efron
                                                               Attorney for Defendants
                                                               237 West 35th Street – Suite 1502
                                                               New York, New York 10001
                                                               (212) 867-1067
